        Case 1:20-cv-07351-AJN Document 14
                                        13 Filed 11/09/20
                                                 11/05/20 Page 1 of 2
                                           250 WEST 55TH STREET           MORRISON & FOERSTER LLP

                                           NEW YORK, NY 10019-9601        BEIJING, BERLIN, BOSTON,
                                                                          BRUSSELS, DENVER, HONG KONG,
                                                                          LONDON, LOS ANGELES, NEW YORK,
                                           TELEPHONE: 212.468.8000        NORTHERN VIRGINIA, PALO ALTO,
                                           FACSIMILE: 212.468.7900        SAN DIEGO, SAN FRANCISCO, SHANGHAI
                                                                          SINGAPORE, TOKYO, WASHINGTON, D.C.
                                           WWW.MOFO.COM




November 5, 2020                                     11/9/20
                                                                      Writer’s Direct Contact
                                                                      +1 (212) 336.4257
                                                                      jkaufman@mofo.com


                                                                              The parties' request to extend
Via ECF                                                                       Defendants' time to respond to
                                                                              December 11, 2020 is hereby
The Honorable Judge Alison J. Nathan                                          granted. The initial pretrial
United States District Court for the Southern District of New York            conference scheduled for
Thurgood Marshall Courthouse                                                  December 18, 2020 is hereby
                                                                11/9/20       adjourned to January 29, 2021 at
Courtroom 906
                                                                              3:00 p.m.
40 Foley Square
                                                                              SO ORDERED.
New York, New York 10007

Re:    Brownstone Investment Group LLC v. Bonner & Partners, LLC, et al.,
       Case No. 1:20-cv-07351-AJN

Dear Judge Nathan:

We have recently been retained to represent defendants Bonner & Partners, LLC and Jeff
Brown (“Defendants”) in the above-referenced action, and write pursuant to Your Honor’s
Individual Rules and Practices to respectfully request, jointly with Plaintiff Brownstone
Investment Group LLC (“Plaintiff”), that the Court enlarge the time for Defendants to
answer, move, or otherwise respond to the Complaint, and that the Court adjourn the initial
pretrial conference.

Plaintiff filed the Complaint in this action on September 9, 2020, and Defendants accepted
service on October 21, 2020, pursuant to an agreement with Plaintiff, whereby Plaintiff
would consent to a 30-day extension of the time for Defendants to answer, move, or
otherwise respond to the Complaint. Defendants’ response is currently due on November 11,
2020. The parties respectfully request that the Court extend Defendants’ time to respond to
and including December 11, 2020.

The initial pretrial conference for this action is currently scheduled for December 18, 2020.
Calculated from this date, the deadlines for the parties to meet and confer and to submit case
management documents fall on or before December 11, 2020, the parties’ requested deadline
for Defendants to respond. The parties believe they would be able to meet and confer and
prepare case management documents more effectively after Defendants have responded.
Accordingly, the parties also respectfully request that the Court adjourn the initial pretrial
conference. The parties propose January 22, 2021, January 29, 2021, and February 5, 2021
as three mutually agreeable alternate dates for the initial pretrial conference.


sf-4367976
        Case 1:20-cv-07351-AJN Document 14
                                        13 Filed 11/09/20
                                                 11/05/20 Page 2 of 2




November 5, 2020
Page Two


No prior extensions have been sought in this action. While no other scheduled dates will
necessarily be affected if the proposed extension for Defendants to respond is granted, the
parties believe an adjournment of the initial pretrial conference would allow the parties to
meet and confer and prepare case management documents most effectively.

We are happy to discuss this request at the Court’s convenience.

Respectfully submitted,



Jessica Kaufman


Cc:    L. Donald Prutzman, Esq. (via ECF and email)




sf-4367976
